Case 2:20-cv-10398-FMO-SK Document 19 Filed 01/12/21 Page 1 of 1 Page ID #:48
  1
  2
                                             JS−6
  3
  4
  5
  6
  7
  8
  9                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  10
  11 JOSE ESTRADA                                 CASE NO:
                                                  2:20−cv−10398−FMO−SK
  12                  Plaintiff(s),
             v.                                   ORDER DISMISSING ACTION
  13
       LONG BEACH BUILDINGS III, LLC , et al.     WITHOUT PREJUDICE
  14
  15
  16                 Defendant(s).

  17
  18
  19         Having been advised by counsel that the above−entitled action has been settled,
  20    IT IS ORDERED that the above−captioned action is hereby dismissed without costs
  21    and without prejudice to the right, upon good cause shown within 45 days from the
  22    filing date of this Order, to re−open the action if settlement is not consummated.
  23    The court retains full jurisdiction over this action and this Order shall not prejudice
  24    any party to this action.

  25        IT IS SO ORDERED.
  26
       DATED: January 12, 2021                       /s/ Fernando M. Olguin
  27                                                Fernando M. Olguin
                                                    United States District Judge
  28
